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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                               CASE NO.:

  BRIANNA JENKINS, by and through
  DANIELLE ALLEN, her legal guardian,

         Plaintiff,

  v.

  JFK MEDICAL CENTER, LP, d/b/a
  JFK Medical Center North Campus,
  KUNAL KAPILA, M.D., and
  NADIA YOLANDE GORDON, R.N.

        Defendants.
  _________________________________/

                       COMPLAINT FOR DECLARATORY JUDGMENT

         Plaintiff Danielle Allen, as legal guardian of Brianna Jenkins, sues Defendants JFK

  Medical Center, LP, d/b/a JFK Medical Center North Campus, Kunal Kapila, M.D., and Nadia

  Yolande Gordon, R.N. and alleges:

                                           INTRODUCTION

           1.    Brianna Jenkins is the victim of medical malpractice and suffered a resulting brain

  injury at the hospital owned and operated by Defendant JFK Medical Center, LP, which has left

  her in a minimally conscious state.

           2.    To pursue medical malpractice claims against the hospital and those who provided

  Ms. Jenkins negligent healthcare, Plaintiff retained the services of counsel, who completed an

  investigation and in February 2021 served a notice of intent to initiate litigation on Defendants

  pursuant to section 766.106, Florida Statutes.




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             3.   In response, Defendants agreed not to contest liability in a civil lawsuit and to

  arbitrate Ms. Jenkins’s damages arising from the alleged medical malpractice, as authorized by the

  Florida medical malpractice arbitration law, section 766.207, Florida Statutes.

             4.   Accordingly, there is a medical malpractice arbitration proceeding pending, Jenkins

  v. Kapila, Case No. 21-001949MAz, State of Florida, Division of Administrative Hearings (the

  “Arbitration”). Liability is not at issue in the Arbitration, only the amount of the damages to which

  Ms. Jenkins is entitled.

             5.   Ms. Jenkins will require extensive medical and attendant care and equipment for

  the remainder of her life. She is without the funds to pay for this care and is eligible for the

  Medicaid health program. Also, because of the debilitating and permanent nature of her injury,

  Ms. Jenkins applied for and will most certainly be awarded disability benefits under the federal

  Supplemental Security Income (“SSI”) program and, so, will be eligible to receive Medicare

  benefits two years after her SSI disability entitlement date. 42 C.F.R. § 406.12(d)(1). Any future

  Medicare and Medicaid healthcare benefits Ms. Jenkins receives will be paid by the Centers for

  Medicare Services (“CMS”). CMS is the federal agency that administers the Medicare and

  Medicaid programs.

             6.   Plaintiff asserts in the Arbitration that Ms. Jenkins is entitled to and must recover

  damages for the expenses that will be paid for by Medicare and Medicaid so that Ms. Jenkins may

  comply with CMS’s rights to reimbursement and federal law designating the Medicare and

  Medicaid programs as secondary payers. However, Defendants reject this position. They maintain

  that Ms. Jenkins may not recover damages in the Arbitration for those expenses that will be paid

  for by Medicare and Medicaid, notwithstanding that this would leave Ms. Jenkins without the

  funds to repay the federal programs and render the federal taxpayers the primary payers of her

  damages.

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            7.    Plaintiff has filed this action because she is in doubt as to Ms. Jenkins’s legal rights

  and obligations under federal law and the Florida and federal constitutions. Plaintiff requires

  clarification on the federal law that applies and whether that law preempts or prohibits Defendants’

  interpretation of the Florida statutes governing the award of arbitration damages.

                             PARTIES, JURISDICTION, AND VENUE

            8.    Plaintiff Danielle Allen is Ms. Jenkins’s plenary guardian. As previously alleged,

  Brianna Jenkins is the victim of medical malpractice perpetrated by Defendants, who have agreed

  not to contest liability for this negligence.

            9.    Defendant JFK Medical Center, LP, d/b/a JFK Medical Center North Campus

  (“JFK”), owns and operates the hospital where Ms. Jenkins was negligently treated.

            10.   Defendant Kunal Kapila, M.D., is a licensed medical doctor, practicing internal

  medicine, who negligently treated Mrs. Jenkins at JFK.

            11.   Defendant Nadia Yolande Gordon, R.N., is a licensed registered nurse who

  negligently treated Mrs. Jenkins at JFK.

            12.   This is an action for declaratory judgment brought pursuant to Chapter 28, U.S.C.

  § 2201 and Federal Rule of Civil Procedure 57. The Court has jurisdiction pursuant to 28 U.S.C.

  § 1331 (Federal Question), 28 U.S.C. § 2201 (the Declaratory Judgment Act), and 28 U.S. C. §

  1332 (Diversity). As alleged below, an actual case or controversy concerning federal law and Ms.

  Jenkins’s rights under the United States Constitution has arisen between the parties, which

  threatens injury to Plaintiff by depriving Ms. Jenkins of the damages to which she is entitled and

  yet rendering Plaintiff liable for the reimbursement of conditional payments made by government

  programs.

              13. This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over Ms.

  Jenkins’s claims that form part of the same case or controversy.

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            14. Pursuant to 28 U.S.C. § 1391, venue is proper in the Southern District of Florida,

  where a substantial part of the events giving rise to the claim for declaratory relief occurred.

            15. This Court has personal jurisdiction over the Defendants because they reside or

  conduct business in this District.

                             FACTS GIVING RISE TO COMPLAINT

     A. Ms. Jenkins’s Injuries and Damages

            16. On September 12, 2020, Ms. Jenkins went to JFK Medical Center North Campus

  with symptoms of abscess and sepsis. She was 26 years old and otherwise in good health.

            17. JFK’s staff and the Defendant healthcare providers, Dr. Kapila and Nurse Gordon,

  failed to appreciate the seriousness of Ms. Jenkin’s condition and her sepsis worsened, causing her

  to develop hypokalemia and hypomagnesemia.

            18. Over the next fourteen days, and under the care of Defendants, Ms. Jenkins’s

  condition deteriorated. Then, during the evening of September 27 and into the morning of

  September 28, and because of the Defendants’ failures, Ms. Jenkins suffered a series of seizures.

  Throughout, Defendants failed to appreciate and treat Ms. Jenkins’s condition

            19. Ultimately, Ms. Jenkins began to demonstrate symptoms of respiratory distress.

  Rather than take action to protect Ms. Jenkins’s airway, Defendants and their staff failed to report

  to Ms. Jenkins’s bedside and instead repeatedly administered Ativan, a respiratory depressant. As

  a result, Ms. Jenkins suffered an acute anoxic/hypoxic brain injury, which has left her in a

  minimally conscious state.

            20. Ms. Jenkins is severely injured and disabled and in need of around-the-clock care.

  Whereas Ms. Jenkins was fully functional and employed before this incident, she is now minimally

  conscious and confined to a hospital bed. She is unable to walk, talk, or feed herself, experiences

  pain and discomfort, and is entirely dependent upon others for basic functions.

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             21. Ms. Jenkins’s injuries are permanent. She will require constant medical and

  attendant care for the remainder of her life.

             22. Given the severity of her disability, Ms. Jenkins has applied for and will most

  certainly be granted disability benefits from the SSI program. Accordingly, under the current law,

  Ms. Jenkins will be eligible to receive Medicare benefits 24 month from the date of her SSI

  eligibility determination. At that point, and assuming the Medicare program operates as it does

  today, Ms. Jenkins’s health care providers will bill Medicare for the cost of her extensive medical

  care and Medicare will make conditional payments to these providers on Ms. Jenkins’s behalf.

             23. In the meantime, Ms. Jenkins is being cared for at a facility in Orlando, Florida,

  where she is receiving constant and highly skilled inpatient care. The cost of this care is being

  borne by Ms. Jenkins.

             24. Through the Medicaid program, CMS may cover certain of Ms. Jenkins’s

  healthcare expenses before Ms. Jenkins is eligible for Medicare.

      B. The Medical Malpractice Arbitration
           25. The Arbitration is proceeding pursuant to section 766.207, Florida Statutes, the

  statute authorizing medical negligence arbitration proceedings as an alternative to traditional civil

  tort actions. In arbitration, liability is admitted, and only damages are arbitrated, but the claimant’s

  non-economic damages are capped by statute at $250,000 per incident. Fla. Stat. 766.207(7).

             26. By way of background, Section 766.106, Florida Statutes, requires medical

  malpractice claimants to give prospective defendants pre-suit notice of a lawsuit and gives these

  prospective defendants the opportunity to investigate the claim over a period of three months.

  After that time, claimants or prospective defendants may elect to have damages determined by an

  arbitration panel by serving a request for voluntary binding arbitration of damages.

             27. When a prospective defendant agrees to arbitration, it chooses to admit liability.


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  As explained by the court in Estrada v. Mercy Hospital, Inc., 121 So. 3d 51, 53-54 (Fla. 3d DCA

  2013): “[I]n a proceeding for voluntary binding arbitration of a medical negligence claim, the

  liability of Defendant is admitted, and the only issue is damages, which are set by a panel of three

  arbitrators, one selected by the claimant, one selected by the defendant, and an administrative law

  judge designated by the Division of Administrative Hearings who serves as the chief arbitrator.”

            28. In this case, the presuit investigatory period expired and on May 12 and May 17,

  2021, Defendants sent requests for voluntary binding arbitration of damages to Plaintiff, pursuant

  to section 766.207, Florida Statutes. Plaintiff accepted these offers to arbitrate.

            29. Accordingly, the arbitration was initiated with the filing of a stipulated Request for

  Arbitration on June 18, 2021.

            30. In the Arbitration, Plaintiff seeks to recover from the Defendants Ms. Jenkins’s

  non-economic damages, which are capped pursuant to section 766.207(7), and the cost of Ms.

  Jenkins’s past and future medical care and other economic damages, including the cost of the care

  paid for by Medicare and Medicaid.

            31. Defendants have made clear, however, that they will insist that Medicare and

  Medicaid benefits paid on Ms. Jenkins’s behalf in the future be set off from the awarded damages

  in the Arbitration.

            32. By agreement of the parties, the Arbitration will take place between January 20

  and 28, 2022.

     C. The Dispute over the Payment of Future Medical Care and the Arbitration Order

            33. Through the Medicare and Medicaid programs, Ms. Jenkins will be eligible for

  health benefits, meaning that CMS will make conditional payments for medical services on behalf

  of Ms. Jenkins to the facilities where she is treated and to her medical providers.

            34. So, although Defendants’ negligence caused Ms. Jenkins’s injury, Ms. Jenkins’s

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  medical care will be paid for, conditionally, by the American taxpayer.

               35. The parties now dispute whether the Medicare and Medicaid benefits that Ms.

  Jenkins will receive in the future can be deemed a “collateral source” and set-off from Ms.

  Jenkins’s economic damages award in the Arbitration, or whether federal law prohibits such

  treatment.

               36. Defendants contend that whatever economic damages Ms. Jenkins has sustained

  must be reduced by the Medicare and Medicaid payments that may have been paid and may be

  paid in the future for Ms. Jenkins’s care. Plaintiff contends this interpretation is prohibited by

  federal law, which extends to the federal government a right of reimbursement and designates the

  federal programs as the secondary payors of expenses for tort victims.

               37. The statutes that govern are sections 766.207(7)(a) and (c), Florida Statutes, and

  the definition of “collateral source” set forth in section 766.202(2)(a) (together the “Setoff

  Provisions”). Section 766.207 contains “offset” language providing that “past and future medical

  expenses” shall be awardable “offset by any collateral source payments,” and that “[d]amages for

  future economic losses . . . shall be offset by future collateral source payments.” Fla. Stat. §

  766.207(7)(a), (c).

               38. “Collateral sources,” for purposes of section 766.207 is defined to include “federal

  . . . public programs providing medical expenses,” but to specifically exclude payments that are

  “prohibited” from being offset from damages under “federal law.”

               39. Section 766.202 defines “collateral sources” as follows:

                   (2) “Collateral sources” means any payments made to the claimant, or
                   made on his or his behalf, by or pursuant to:

                           (a) The United States Social Security Act; any federal, state, or
                   local income disability act; or any other public programs providing medical
                   expenses, disability payments, or other similar benefits, except as
                   prohibited by federal law.

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  (Emphasis added.)

            40. Ms. Jenkins maintains that the Medicare and Medicaid benefits she may receive

  cannot be deemed “collateral source payments” under this definition because federal law prohibits

  such treatment.

            41. Indeed, under federal law governing the Medicare program, the federal government

  will make only conditional payments on Ms. Jenkins’s behalf, and CMS has a right to recover

  medical expenses incurred from the medical care of a Medicare beneficiary directly from the

  beneficiary, from the proceeds for any recovery the beneficiary makes, and from the beneficiary’s

  attorneys. See 42 U.S.C § 1395y (b)(2), 42 C.F.R. §§ 411.22, 4.11.23(b), 411.24.

            42. The purpose of the federal Medicare law, the Medicare Secondary Payor Act

  (“MSP”), is to make Medicare benefits secondary to benefits payable by a third-party payer and

  to ensure that the cost of treating injured persons, like Ms. Jenkins, to whom CMS makes care

  available, is borne by those legally responsible for the injury, not the United States taxpayer. See

  42 U.S.C § 1395y (b)(2), 42 C.F.R. §§ 411.22, 4.11.23(b), 411.24.

            43. Similarly, the relevant federal Medicaid statutes, 42 U.S.C. § 1396a(a)(25)(A), (B),

  authorize and require the state of Florida to recover funds expended to Medicaid benefits

  recipients. Fla. Stat. § 409.910(7), (11).

            44. The “Medicaid Third-Party Liability Act” requires participating states to “seek

  reimbursement for [medical] assistance to the extent of [a tortfeasor’s] legal liability,” §

  1396a(a)(25)(B), and Florida’s law acknowledges that “Medicaid be the payor of last resort for

  medically necessary goods and services furnished to Medicaid recipients. All other sources of

  payment for medical care are primary to medical assistance provided by Medicaid.” Fla. Stat. §

  409.910(1).


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            45. Thus, federal law requiring reimbursement for Medicare and Medicaid expenses

  prohibits or preempts the application of Florida Statutes in a manner that would excuse a tortfeasor

  from payment.

            46. Notwithstanding that Medicare and Medicaid payments are only conditional and

  must be reimbursed, Defendants maintain that they may be deemed collateral sources under section

  766.202(2)(a), and must, therefore, be offset from the arbitration award under section

  766.207(7)(a).

            47. The administrative law judges who preside in Florida’s medical malpractice

  arbitration proceedings routinely hold that they do not possess the authority to rule on issues of

  preemption or the constitutionality of statutes or rules.

     D. The Impact of the Setoff to Which Defendants Contend they are Entitled

            48. If Ms. Jenkins’s damages in Arbitration are reduced or “offset” for all future

  conditional Medicare and Medicaid payments on Ms. Jenkins’s behalf, Ms. Jenkins will soon be

  left in an impossible situation: she will be without sufficient funds to reimburse CMS, as required,

  or to pay for her future care in the event CMS reduces benefits or will not cover expenses at some

  point during her lifetime. For example, home health care, which Ms. Jenkins requires, is not

  covered by Medicare. Nor is certain medical equipment covered by Medicare, and the equipment

  that Medicare does cover may only be replaced on the schedule set by Medicare.

            49. Additionally, given that a damages award or settlement in an arbitration proceeding

  must be reported to Medicare, Medicare may refuse to pay for Ms. Jenkins’s future medical

  expenses relating to her injury at some point. See 42 U.S.C. 1395y(b)(8)(A), (B) (requiring insurers

  to report to CMS any Medicare beneficiaries who receive a “settlement, judgment, award, or other

  payment,” regardless of whether or not there is a determination or admission of liability).

            50. The Government will also be left without the recovery to which it is entitled. If

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   Ms. Jenkins is denied recovery of costs of the Medicare and Medicaid services, the Government

   will not receive the reimbursement from Ms. Jenkins to which it is entitled and will instead bear

   the entirety of the economic burden for Defendants’ negligence. Thus, the American taxpayer will

   ultimately be responsible for paying for Ms. Jenkins’s care, rather than Defendants.

             51. This is the not the scheme provided for by federal law and it is also unconstitutional,

   as alleged below. The offset subverts the reimbursement rights provided under federal law and

   deprives Ms. Jenkins of the full extent of her economic damages which would otherwise be

   recoverable in a civil suit and would be recoverable by a litigant who was not eligible for these

   federal programs. The setoff also arbitrarily discriminates against Ms. Jenkins.

             52. The Setoff Provisions also leave Ms. Jenkins’s lawyers, The Grife Law Firm, P.A.,

   potentially liable for the repayment of conditional payments made by CMS. See 42 C.F.R. §

   411.24(g) (Medicare “has a right of action to recover its payments from any entity, including a

   beneficiary ... [or] attorney ... that has received a primary payment.”); Zinman v. Shalala, 67 F.3d

   841, 844-45 (9th Cir. 1995). Therefore, Ms. Jenkins’s attorneys too have an obligation to ensure

   that CMS is reimbursed.

             53. Notwithstanding all of this, Defendants dispute that federal law prohibits a setoff

   for Medicare and Medicaid benefits and claim that they are entitled to such a setoff in this case.

             54. Thus, the parties have adverse legal interests, of sufficient immediacy and reality

   to warrant the issuance of a declaratory judgment – namely, if this Court does not clarify the impact

   and demands of federal law as it applies to this controversy, the Government will be rendered the

   primary payor of Mrs. Jenkins’s medical care and Ms. Jenkins will be left without sufficient funds

   to reimburse the Government or to pay for the medical care she requires to survive. Plaintiff will

   also be unable to prepare for the Arbitration, to adequately advance Ms. Jenkins’s rights in that

   proceeding, or to protect Ms. Jenkins against future requirements for repayment.

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                                                  COUNT I

   CLAIM FOR DECLARATORY JUDGMENT THAT FEDERAL LAW PREEMPTS OR
   PROHIBITS MEDICARE BENEFITS FROM BEING OFFSET FROM MS. JENKINS’S
                         ECONOMIC DAMAGES

              55. Plaintiff incorporates and realleges the allegations above and further alleges:

              56. There is an actual controversy between Plaintiff and the Defendants regarding the

   application of federal law and Plaintiff is in doubt as to Ms. Jenkins’s ability to recover the full

   extent of her damages, namely, those claimed damages arising from medical care that may be paid

   for by Medicare in the future.

              57. The MSP creates a cause of action by which the United States may recover “from

   any entity that has received payment from a primary plan or from the proceeds of a primary plan's

   payment to any entity.” 42 U.S.C. § 1395y(b)(2)(B)(iii). This law allows the United States to seek

   reimbursement from the beneficiary herself, from the proceeds of any recovery the beneficiary

   makes, and from the beneficiary’s attorneys. See also 42 C.F.R. § 411.24(g) (Medicare “has a

   right of action to recover its payments from any entity, including a beneficiary ... [or] attorney ...

   that has received a primary payment.”).

              58. Given these rights to reimbursement, Medicare benefits cannot be a collateral

   source under the Setoff Provisions, as defined above, because such an application would subvert

   CMS’s right to reimbursement from its beneficiary, Ms. Jenkins, and thus be “prohibited by federal

   law.”

              59. Defendants disagree and assert that they are entitled to a setoff against the

   awardable damages for the cost of the medical care that may be paid for by Medicare in the future.

              60. Because of this actual, present, and justiciable controversy, Ms. Jenkins stands to

   be deprived of the damages to which she is entitled. Also, Ms. Jenkins’s lawyers, The Grife Law

   Firm, P.A., may also be liable for reimbursement of conditional payments made on Ms. Jenkins’s

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   behalf. See, e.g., 42 U.S.C. § 1395y(b)(2)(B)(iii).

              61. Because of the uncertainty with respect to Ms. Jenkins’s rights, Plaintiff cannot

   make any intelligent determination as to how to proceed with arbitrating her claim, presenting Ms.

   Jenkins’s damages, and making provisions for reimbursing Medicare in the future.

              62. Accordingly, Plaintiff requests that this Court declare federal law preempts or

   prohibits Medicare benefits from being offset from Ms. Jenkins’s economic damages as collateral

   source payments.

                                                 COUNT II

    PLAINTIFF’S CLAIM FOR DECLARATORY JUDGMENT THAT FEDERAL LAW
   PREEMPTS AND PROHIBITS MEDICAID BENEFITS FROM BEING OFFSET FROM
                    MS. JENKINS’S ECONOMIC DAMAGES

              63. Plaintiff incorporates and realleges the allegations in paragraphs 1 through 54 above

   and further alleges:

              64. There is an actual controversy between Plaintiff and Defendant regarding the

   application of federal law and Plaintiff is in doubt as to the ability to recover the full extent of Ms.

   Jenkins’s damages, including those damages claimed arising from medical care paid for by

   Medicaid in the past or future.

              65. Federal Medicaid law requires participating States to “ascertain the legal liability

   of third parties ... to pay for [an individual benefits recipient's] care and services available under

   the [State's] plan,” 42 U.S.C. § 1396a(a)(25)(A) and to “seek reimbursement for [medical]

   assistance to the extent of such legal liability,” § 1396a(a)(25)(B). The supporting Florida law

   authorizes the state to seek reimbursement from any “third party,” including “the [Medicaid]

   recipient or legal representative.” Fla. Stat. § 409.910(7), (11).

              66. Conditional payments may be recovered directly from the beneficiary, in this case

   Ms. Jenkins, where the beneficiary recovers economic damages, and from the beneficiary’s

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   attorneys.

                67. Accordingly, Medicaid benefits cannot be a collateral source under the Setoff

   Provisions, as defined above, because such an application would subvert the government’s right

   to reimbursement and thus be “prohibited by federal law.”

                68. Defendants disagree and maintain they are entitled to an offset against the

   awardable economic damages for the cost of the medical care paid for by Medicaid in the past and

   that may be paid for by Medicaid in the future.

                69. Because of this actual, present, and justiciable controversy, Ms. Jenkins stands to

   be deprived of the damages to which she is entitled. Her attorneys will also be liable for

   reimbursement of conditional payments made on Ms. Jenkins’s behalf. See Fla. Stat. §

   409.910(7)(a), (11).

                70. Additionally, because of the uncertainty with respect to Ms. Jenkins’s rights, the

   Plaintiff cannot make any intelligent determination as to how to proceed with arbitrating Ms.

   Jenkins’s claim, presenting her damages, and planning to reimburse Medicaid.

                71. Accordingly, Plaintiff requests that this Court declare federal law preempts or

   prohibits Medicaid benefits from being offset from Ms. Jenkins’s economic damages as collateral

   source payments.

                                                COUNT III

      CLAIM FOR DECLARATORY JUDGMENT THAT SECTIONS 766.202(2)(a) AND
      766.207(7)(a), (c), FLORIDA STATUTES, VIOLATE THE EQUAL PROTECTION
                     CLAUSE OF THE UNITED STATES CONSTITUTION

                72. Plaintiff incorporates and realleges the allegations in paragraphs 1 through 54 above

   and additionally or alternatively alleges that:

                73. The Setoff Provisions provide that once a medical malpractice defendant has

   offered to arbitrate, the Ms. Jenkins’s economic damages shall be “offset” by “collateral source

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   payments,” including “federal . . . public programs providing medical expenses,” but specifically

   excluding payments that are “prohibited” from being offset from damages under “federal law.”

             74. If Medicare and Medicaid benefits are considered collateral sources in the

   Arbitration, for Ms. Jenkins, who will be entitled to Medicare and Medicaid benefits, these Setoff

   Provisions will entitle the Defendants to a setoff for the total care that this program will pay on

   Ms. Jenkins’s behalf in the future. This will leave Ms. Jenkins without the ability to recover

   compensation for future economic losses, rendering her unable to reimburse the government or to

   obtain the medical care of her choosing and a burden on the taxpayer for the remainder of her life.

             75. In this manner, the Setoff Provisions arbitrarily place Ms. Jenkins in a position

   different from that of a civil litigant who has not or will not receive medical care paid for by

   Medicare and Medicaid, and deprive Ms. Jenkins of equal protection under the law, in violation of

   Amendment XIV, Section 1 of the United States Constitution. Under the Setoff Provisions, Ms.

   Jenkins is not treated like other medical malpractice claimants, ineligible for Medicare and

   Medicaid, who would be entitled to the full extent of their economic damages.

             76. Accordingly, Plaintiff requests that this Court declare that the Setoff Provisions are

   unconstitutional and that Ms. Jenkins’s Medicare and Medicaid benefits cannot be offset from Ms.

   Jenkins’s economic damages ascollateral source payments.

                                                COUNT IV

     CLAIM FOR DECLARATORY JUDGMENT THAT SECTIONS 766.202(2)(a) AND
   766.207(7)(a), (c), FLORIDA STATUTES, VIOLATE THE DUE PROCESS CLAUSE OF
                          THE UNITED STATES CONSTITUTION

             77. Plaintiff incorporates and realleges the allegations in paragraphs 1 through 54 above

   and alleges additionally or in the alternative:

             78. If Medicare and Medicaid benefits are considered collateral sources in arbitration

   for Ms. Jenkins, these Setoff Provisions will entitle the Defendants to an offset for the total care

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   that this program will pay on Ms. Jenkins’s behalf in the future. This will leave Ms. Jenkins

   without the ability to recover compensation for future economic losses, rendering her unable to

   reimburse the government or to obtain the medical care of her choosing, and a burden on the

   taxpayer for the remainder of her life.

             79. In this manner, the Setoff Provisions deprive Ms. Jenkins of due process of law in

   violation of Amendment XIV, Section 1, of the United States Constitution.

             80. Accordingly, Plaintiff requests that this Court declare that the Setoff Provisions are

   unconstitutional and that Ms. Jenkins’s Medicare and Medicaid benefits cannot be offset from Ms.

   Jenkins’s economic damages as a collateral source payment.



                                                 COUNT V

        PLAINTIFF’S CLAIM FOR DECLARATORY JUDGMENT THAT SECTIONS
        766.202(2)(a), 766.207(7)(a), (c), FLORIDA STATUTES, VIOLATE THE EQUAL
                PROTECTION CLAUSE OF THE FLORIDA CONSTITUTION

             81. Plaintiff incorporates and realleges the allegations in paragraphs 1 through 54 above

   and alleges additionally or alternatively:

             82. If Medicare and Medicaid benefits are considered collateral sources in the

   Arbitration, for Ms. Jenkins, these Setoff Provisions will entitle the Defendants to a setoff for the

   total care that this program will pay on Ms. Jenkins’s behalf in the future. This will leave Ms.

   Jenkins without the ability to recover compensation for future economic losses, rendering her

   unable to reimburse the government or to obtain the medical care of her choosing, and a burden

   on the taxpayer for the remainder of her life.

             83. In this manner, the Setoff Provisions arbitrarily place Ms. Jenkins in a position

   different from that of a civil litigant who has not received medical care paid for by Medicare and

   Medicaid, and deprive Ms. Jenkins of equal protection under the law, in violation of Article I,

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   Section 2 of the Florida Constitution, guaranteeing that all similarly situated persons be treated

   alike. Under the Setoff Provisions, Ms. Jenkins is not treated like other medical malpractice

   claimants who would be entitled to the full extent of their damages.

             84. Accordingly, Plaintiff requests that this Court declare that the Setoff Provisions are

   unconstitutional and that Ms. Jenkins’s Medicare and Medicaid benefits cannot be offset from Ms.

   Jenkins’s economic damages as a collateral source payment.

                                                COUNT VI

     CLAIM FOR DECLARATORY JUDGMENT THAT SECTIONS 766.202(2)(a) AND
   766.207(7)(a), (c), FLORIDA STATUTES, VIOLATE THE DUE PROCESS CLAUSE OF
                             THE FLORIDA CONSTITUTION

             85. Plaintiff incorporates and realleges the allegations in paragraphs 1 through 54 above

   and alleges additionally or alternatively:

             86. If Medicare and Medicaid benefits are considered collateral sources in the

   Arbitration, for Ms. Jenkins, these Setoff Provisions will entitle the Defendants to a setoff for the

   total care that Medicare will pay on Ms. Jenkins’s behalf in the future. This will leave Ms. Jenkins

   without the ability to recover compensation for future economic losses, rendering her unable to

   reimburse the government or to obtain the medical care of her choosing, and a burden on the

   taxpayer for the remainder of her life.

             87. In this manner, the Setoff Provisions deprive Ms. Jenkins of due process of law in

   violation of Article I, Section 9 of the Florida Constitution.

             88. Accordingly, Plaintiff requests that this Court declare that the Setoff Provisions are

   unconstitutional and that Ms. Jenkins’s Medicare and Medicaid benefits cannot be offset from Ms.

   Jenkins’s economic damages as a collateral source payment.

                                         PRAYER FOR RELIEF

          WHEREFORE, Plaintiff requests that a judgment be entered declaring that:

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      (1)     Medicare and Medicaid benefits may not be offset from the economic damages awarded

              to Ms. Jenkins as collateral source payments because such an offset would be preempted

              or prohibited by federal law;

      (2)     Sections 766.202(2)(a), 766.207(7)(a), (c), Florida Statutes, are unconstitutional as

              applied to Ms. Jenkins because they deprive her of equal protection under the law, in

              violation of Amendment XIV, Section 1 of the United States Constitution;

      (3)     Sections 766.202(2)(a), 766.207(7)(a), (c), Florida Statutes, are unconstitutional as

              applied to Ms. Jenkins because they deprive her of due process of law, in violation of

              Amendment XIV, Section 1 of the United States Constitution;

      (4)     Sections 766.202(2)(a), 766.207(7)(a), (c), Florida Statutes, are unconstitutional as

              applied to Ms. Jenkins because they deprive her of equal protection under the law, in

              violation of Article I, Section 2 of the Florida Constitution; and

      (5)     Sections 766.202(2)(a), 766.207(7)(a), (c), Florida Statutes, are unconstitutional as

              applied to Ms. Jenkins because they deprive her of due process of law, in violation of

              Article I, Section 9 of the United States Constitution.


   Dated this 20th day of August 2021.

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